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                                                                     FILED
                                                          UNITED STATES DISTRICT COURT
                                                               DENVER, COLORADO
                                                                  11:35 am, May 26, 2023

                                                           JEFFREY P. COLWELL, CLERK



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